Case 3:17-cr-00240-FAB Document 3 Filed 04/10/17 Page 1 of 20
Case 3:17-cr-00240-FAB Document 3 Filed 04/10/17 Page 2 of 20
Case 3:17-cr-00240-FAB Document 3 Filed 04/10/17 Page 3 of 20
Case 3:17-cr-00240-FAB Document 3 Filed 04/10/17 Page 4 of 20
Case 3:17-cr-00240-FAB Document 3 Filed 04/10/17 Page 5 of 20
Case 3:17-cr-00240-FAB Document 3 Filed 04/10/17 Page 6 of 20
Case 3:17-cr-00240-FAB Document 3 Filed 04/10/17 Page 7 of 20
Case 3:17-cr-00240-FAB Document 3 Filed 04/10/17 Page 8 of 20
Case 3:17-cr-00240-FAB Document 3 Filed 04/10/17 Page 9 of 20
Case 3:17-cr-00240-FAB Document 3 Filed 04/10/17 Page 10 of 20
Case 3:17-cr-00240-FAB Document 3 Filed 04/10/17 Page 11 of 20
Case 3:17-cr-00240-FAB Document 3 Filed 04/10/17 Page 12 of 20
Case 3:17-cr-00240-FAB Document 3 Filed 04/10/17 Page 13 of 20
Case 3:17-cr-00240-FAB Document 3 Filed 04/10/17 Page 14 of 20
Case 3:17-cr-00240-FAB Document 3 Filed 04/10/17 Page 15 of 20
Case 3:17-cr-00240-FAB Document 3 Filed 04/10/17 Page 16 of 20
Case 3:17-cr-00240-FAB Document 3 Filed 04/10/17 Page 17 of 20
Case 3:17-cr-00240-FAB Document 3 Filed 04/10/17 Page 18 of 20
Case 3:17-cr-00240-FAB Document 3 Filed 04/10/17 Page 19 of 20
Case 3:17-cr-00240-FAB Document 3 Filed 04/10/17 Page 20 of 20
